      CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 1 of 31


                                                                      Lo   n L*L o'iD/2,^r.^
                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA


UMTED STATES OF AI\{ERICA,

                  Plaintiff,

     v.

(1) RUSSELL JASON RAHM,
   also known as "RusW Rahm,"
(2) TERRY LYNN CHRISTENSEN,
(3) JANMCE IGISTINA LAUR,
(4) PETRA JINETTE I,ABOY,
(5) DAVrD JOHN MOULDER,
(6) ANTHONIY EUGENE MOULDER,
(7) RHONDA JEAN MOULDER,
(S) BARBARA ANN MOULDER,
(9) LI.]IS ORLANDO MENDIT,ABAL
(10) JEFFREY LEE SMOLIAK
(11) JOHN MICITAEL BLALOCK,                INDICTMEIYT
(12) LLOn JOSEPH LOFTIS,
(13) BRYANT JARODE CRITTEN,                18 U.S.C.   S 1349
(14) NATESITA JATIMELIA I\,IARSON,         18 U.S.C.   S 1341
(15) THOIVIAS ATIIANASIOS KIRITSIS,        18 U.S.C.   S 1343
(16) DANIEL MORRIS KLIBANOFF,              18 U.S.C.   S   2326
(17) BRIAN DOUGI"ASS COX,
(1S) JOHN THOI\{AS IIARBERT III,
(1e) AI4ONDO ANTOINE MILLER,
(20) KrLEY I\{ARIE SAINDON,
  also known as "Kiley Lucero,"
(21) ITENRY ARAGON,
(22) LV CLLLE J. PATTERSON,
   also known as "Lucille Makatura,"
(23) JAIVIES ANTHOI{Y SIERRA,
(24) TARA NICOLE CREASON,
(25) WONNE PATTERSON,
(26) CTTARITIE A. SEELre,
(27) BONME LEE COLBERT,
    also known as "Bonnis ft,4nkia,"
(28) JENNIFER LYNN GIRARDIN,
    also known as "Jennifer Key''and
   "Jsnnifel Roybal,"                                             ircn-jffi,m
(2e) JESSICA MARIE PRINCE,
                                                                  I
                                                                  I


                                                                  I
                                                                       oct202o2o r
                                                                  I u.s. otsrnrcT coullT MPLs
           CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 2 of 31




(30) BRrAN JAIVIES WILLIAMS,
(31) TASHENA LA\IERA CRUMP,
(32) JARED THOI\{AS MICHELIZZT,
(33) ERIC PATRICK McGARRITY,
(34) ANDREW JOHN I"ANDSEM,
(35) BALLAI\{ HAZEAKIAH DUDLEY,
(36) CATTLIN COLLEEN SCHLUSSER,
(37) MONICA SABINA STIARI\,IA-
     IIANSSEN,
(38) TTMOTTTY PAUL TIANSSEN,
   also known as "Scotty,"
(3e) coRl,os KENnRELL SMITH,
(40) STACEY LEIGH PERSONS,
  also known as "Stacey Granberry,"
(41) PATRTCIA NICHOLE SHINN,
   also known as "Nikki,"
(42) LEEANN GARCIA,
   also known as "Cali," and
(43) ERIC STEPHEN ESHERICK

                      Defendants.

          THE UMTED STATES GRAND JURY CIIARGES:

                                    O\ZERVIETY

          1.   Over the past twenty years, the defendants devised and carried out a

telemarketing scheme to defraud victim-consumers located across the United States,

many of whom were elderly and vulnerable. They accomplished their fraud scheme

by calling victim-consumers who had one or more existing magazine subscriptions

and offering to "renew" the existing magazine subscriptions, often at a reduced cost.

In reality, the defendants were not calling to renew or reduce the price of the existing

subscriptions. Instead, the defendants tricked their              into signing up for

entirely new magazine subscriptions, which they did not want and often could

afford.



                                           2
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 3 of 31



      2.    The defendants and their companies bought and sold lists of victim-

consumers who had active and ongoing magazine subscriptions for use     in carrying
out the scheme. As a result, many victim-consumers were victimized by multiple

magazjne companies. Some were fraudulently billed by as many as ten companies at

a time and received more than $1,000 in monthly magazine subscription charges.     In
all, the defendants stole more than $300 million from more than 150,000 victims

using this scheme.

                                    COUNT      1
                         (Conspiracy To Commit Mail Fraud)

      3.    At times relevant to this Indictment:

            a.       Defendant RUSSELL RAHM was the owner and Chief Executive

Officer of several Kansas-based companies involved in fraudulent magazine sales,

including Subscription Ink Co. and Millennium Marketing. Defendant RAHM and

fuis ssmpanies provided an array of services   to companies involved in fraudulent

magazine telemarketing sales. Among other things, defendant RAHM and his

companies provided sales leads and handled order management,           filling,   and

collections for companies involved in fraudulent magazine sales   in exchange for   a

percentage of the revenue received from victim-consumers. Subscription Ink Co. and

Millennium Marketing were located in Shawnee, I(ansas.

            b.       Defendant TERRY CHRISTENSEN and Michael Jon Oelrich

operated telemarketing call centers in Fort Lauderdale and Cape Coral, Florida, on

behalf of defendant RAHM. Defendant CHRISTENSEN and Oelrich'-s call centers




                                         3
          CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 4 of 31




were involved in fraudulent, magazine sales to customers throughout the United

States.

              c.    Defendant CHRISTENSEN and Oelrich ran these call centers

under a variety of company names, including MO Management LLC, Preferred Media

Source Inc., Preferred Media Solutions, American Readers Service, Atlantic Media

Soutce, North American Direct Service, Inc., and North America's Readers Choice.

Defendant CHRISTENSEN and Oelrich ran the call centers at the direction of

defendant RAHM. Defendant RAHM and his companies provided sales leads to the

call centers, processed the orders, and handled customer billing and collections on

behalf of the call centers. Defendant RAHM paid a percentage of the sales revenue to

Oelrich in exchange for his operation of the call centers.

              d.    Defendants JANNICE I"AUR and PETRA LABOY worked as

managers of the Fort Lauderdale and Cape Coral call centers.

              e.    Defendant DAVID MOULDER was              the owner and Chief
Executive Officer of several Minnesota-based companies, including PS Online, Viking

Magazine, Total Customer Service, and Direct Clearing, that provided an array of

seryices to companies involved in fraudulent magazine sales.

              f.    PS Online was      a Minnesota-based     company   that   provided

customer relationship management ('CRM') software used by companies involved in

fraudulent magazine sales. Total Customer Service was a Minnesota-based company

that handled collections on behalf of companies involved in fraudulent magazine

sales. PS Online and Total Customer Service were based in Burnsville, Minnesota.



                                           4
        CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 5 of 31



             g.    Defendant DAVID MOULDER also provided sales leads to a

fraudulent magazine sales company run by his brother, defendant ANTHO\IY

MOULDER.

            h.     Defendant ANTHONIY MOULDER owned and operated several

Florida-based companies involved in fraudulent magazine sales, includ.ing Gulf Coast

Readers Inc., ARCO Med.ia Inc., KMK Magazines Inc., and Leisure Time Resources

Inc. These companies operated telemarketing call centers in Cape Coral, Florida.

Defendant ANTHOT\IY MOULDER previously owned a Minnesota-based company

involved in fraudulent magaz,tne sales called Midwest Readers.

            i.     Defendant RHONDA MOULDER was the manager of Gulf Coast

Readers Inc. and ARCO Med.ia Inc.

            j.     In or about March 2Ot4, GuUCoast Readers Inc. and defendants

ANTHO\IY MOIILDER and RHONDA MOULDER entered into an Assurance of

Voluntary Qempliance with the Florida Attorney General's Office. As part of the

agreement, Gulf Coast Readers Inc. and defendants AI\IIHONIY MOULDER and

RHONDA MOULDER agreed to cease and desist certain practices, including "making

any misrepresentations, or false or deceptive statements, in any communications

with consuners." The companies also agreed to "[r]evise any and all scripts used for

inbound and outbound calls to provide consumers with Clear and Conspicuous

disclosures as to the material terms of any magazine subscription or other product

purchased by the consumer, including but not limited to: the name of the magazines

ordered, length of the subscription, number of payments, amount of each payment,

payment schedule (i.e. monthly, quarterly or annually), method of payment and
        CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 6 of 31




cancellation policy, and ensure that each sales representative is provided with and

substantially follows such script(s)." They also agreed to "[c]ease and desist from

placing any unauthorized charges on consumers' credit or debit cards or bank

accountg."

             k.    Approximately two months later, on June      l,   2014, defendant

ANTHOI{Y MOULDER incorporated another company, ARCO Media Inc., for use in

conducting fraudule nt magazine sales.

             l.    Defendants BARBARA MOULDER,                  LUIS     ORI"ANDO

MENDIZABAI, and JEFFREY SMOLIAK were telemarketers who conducted

fraudulent magazine sales for ARCO Media Inc. and Gulf Coast Readers Inc.

MENDIZABAL and SMOLIAK worked at the call center in Cape Coral, Florida.

BARBARA MOULDER worked from her home in Minneapolis, Minnesota.

             m.    Defendant JOHN BLALOCK was the nominal owner and

manager of Leisure Time Resources Inc.,      a Florida-based   company involved in

fraudulent magazine sales. Leisure Time Resources Inc. operated a call center in

Cape Coral, Florida.

             n.    Defendant LLOYI) LOFTIS worked as a manager for defendant

ANTHO\IY MOULDERis companies, including ARCO Media Inc. and Leisure Time

Resources Inc.

             o.    Defendants BRYANT CRITTEN, NATESHA I\{ARSON, and

THOI\,IAS KIRITSIS were managers and telemarketers who conducted fraudulent

magazine sales at Leisure Time Resources'call center in Cape Coral, Florida.



                                         6
        CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 7 of 31



             p.    Defendant DANIEL KLIBANOFF owned                    and operated
Multimedia Lists Inc., a North Carolina-based marketing firm that sold lead lists to

companies involved in fraudulent magazine sales. Multimedia Lists Inc. was based

in Ashville, North Carolina.

             q.    Defendant BRIAN COX owned and operated Mater Marketing

Inc., a Georgia-based marketing firm that sold lead lists to companies involved in

fraudulent magazine sales. Mater Marketing Inc. was based in Iocust Grove,

Georgia.

             r.    Defendant JOHN IIARBERT       III   was a lead broker who sold lead

lists to companies involved in fraudulent magazine sales from his home in
Albuquerque, New Mexico.

             s.    Defendant AI\4ONDO MILLER owned and operated Power Sales

and Marketing, a Colorado-based company that sold lead lists to companies involved

in fraudulent magazine sales. MILLER also owned Magazine Solutions, a company

involved in fraudulent magazine sales. Magazine Solutions had a telemarketing call

center in Denver, Colorado.

             t.    Defendant KILEY SAINDON was the manager of Magazine

Solutions'call center in Denver, Colorado.

             u.    Defendants HENRY ARAGON and LUCILLE PATTERSON

owned several Colorado-based magazine sales companies involved          in fraudulent
magazine sales, includ.ing Resources Source LLC, Magazine Unlimited T.I.C,

Magazine Connection LLC, Magazine Club LLC, and Readers Services Inc.



                                             7
            CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 8 of 31




               v.     In or about October zOLl., the Attorney General for the State of

Colorado frted       a civil complaint against     defendants ARAGON, LUCILIJ

PATTERSON, and several members of their extended family. The complaint alleged

that ARAGON and LUCILLE PATTERSON were involved in a scheme to "deceive

consqmers into purchasing duplicative and expensive magazine subscriptions" by

"pretendlingl that they are the consumer's current magazine provider" calling to

check on the status of an existing magazine subscription.

                w.    In or about March 20t2, defendants ARAGON and LUCILLE
PATTERSON entered into a consent judgment with the Colorado Attorney General,

agreeing to a permanent injunction barring them from owning, operating, or being

involved.   in any company involved in magazine solicitations in the state of Colorado.

Defendant ARAGON also agreed to pay $275,000 in frnes, penalties, and restitution.

                x.    After being barred from doing business in Colorado, defendants

ARAGON and LUCILLE PATTERSON opened new companies in order to continue

to   engage    in fraudulent magazine sales-first in     Texas and later   in Arizona.
Defendant ARAGON owned and operated several Arizona-based companies involved

in fraudulent magazine sales, includingMagazine Direct LLC, MarketingUnlimited,

and Digital Subscriptions Inc. ARAGON and his companies operated a telemarketing

call center in Tempe, Arizona.

                y.     Defendant JAIVIES ANTHONIY SIERRA was the manager of

defendant ARAGOI\|s call centers in Colorado, Texas, and Arizona.

                z.     Defendant LUCILLE PATTERSON owned Publishers Service,

Inc., an Arizona-based company involved in fraudulent magazine sales. LUCILLE
           CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 9 of 31




PATTERSON and her company operated a telemarketing call center           in   Tempe,

Arizona.

               aa.     Defendants ARAGON and LUCILLE PATTERSON also owned

and operated a telemarketing call center in Little Rock, Arkansas.

               bb.     Defendant TARA NICOLE CREASON was the manager of the

Little Rock call center.

               cc.     Defendant WONNE PATTERSON owned and operated Angels

LLC, a Missouri-based company involved in fraudulent magazine sales. WONNE

PATTERSON and her company ran telemarketing call centers in Thayer, Missouri,

and Pekin, Illinois.

               dd.     Defendant CHARITIE SEELre managed the Pekin, Illinois, call

center on behalf of defendant S/ONNE PATTERSON.

               ee.     Defendant BONME COLBERT was            a   telemarketer who

conducted fraudulent magazine sales for Angels LLC.

               tr      Defendant JENNIFER GIRARDIN owned Readers Club of

America, a Missouri-based company involved in fraudulent magazine sales. Readers

Club of America ran a telemarketing call center in Thayer, Missouri.

               gg.     Defendant JESSICA PRINCE managed Readers Club of

America's call center in Thayer, Missouri, on behalf of defendant GIRARDIN.

               hh.     Defendant BRIAN MLLIAMS owned and operated several

Minnesota-based companies involved        in   fraudulent magazine sales, including

Readers Club Home Offi.ce, Pacific Renewal, and Tropical Readers. WILLIAMS's

companies operated call centers in South St. Paul, Minnesota.
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 10 of 31




             ii.   Defendant TASHENA CRIIMP was the manager of defendant

WILLIAMS's call centers in South St. Paul, Minnesota.

            jj.    Defendant JARED MICHELIZZI owned and operated several

Minnesota-based companies involved    in fraudulent magazine sales, including West

Side Readerz and Central Subscription Services. MICHELLIZI'scompanies ran a call

center in Fridley, Minnesota.

             kk.   Defendants ERIC McGARRITY, ANDREW LANDSEM, and

BALI"AI\{ DUDLEY were telemarketers who conducted fraudulent magazine sales

for West Side Readerz and Central Subscription Seryices. McGARRITY and
LANDSEM worked at the call center in Fridley, Minnesota. DUDLEY worked at the

call center in Fridley, Minnesota, and later worked from his home in Fayetteville,

Arkansas.

             11.   Defendants WILLIAMS and MICHELIZZI also owned and

operated Pacific Beach Readers Club,     a    California-based company involved in

fraudulent magazine sales. Pacific Beach Readers Club had a telemarketing call

center in San Diego, California.

             mm.   Defendant CAITLIN SCHLUSSER was the manager of Pacific

Beach Readers Club's call center in San Diego.

             nn.   Defendants MOMCA SIIARJ\{A-IJANSSEN and TIMOTIry

IIANSSEN owned and operated Midwest Publishers Home Offrce, a Minnesota-based

company involved in fraudulent magazine sales. Midwest Publishers Home Offrce

had a telemarketing call center in St. Louis Park, Minnesota.



                                         10
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 11 of 31




            oo.    Defendants CORLOS SMITH was a telemarketer who conducted

fraudulent magazine sales for Midwest Publishers Home Office.

            pp.    Defendant STACEY PERSONS owned and operated General

Subscription Services and Amerimag Services LLC, two Minnesota-based companies

involved in fraudulent magazine sales. The companies had a telemarketing call

center in Fridley, Minnesota.

             qq.   Defendants PATRICIA SHINN and LEEANN GARCIA were

telemarketers who conducted fraudulent magazine sales for General Subscription

Services and Amerimag Services LLC.

             rr.   Defendant ERIC ESHERICK owned and operated Quality

Readers LLC, a Minnesota-based company involved      in fraudulent   magazine sales.

ESI{ERICK ran Quality Readers LLC from his home in Andover, Minnesota.

      4.     From at least in or about 2000 through in or about 2020, in the State

and District of Minnesota, and elsewhere, the defendants,

                            RUSSELL JASON RAHM,
                            also known as "Rusty Rahm,"
                          TERRY LN{N CHRISTENSEN,
                           JANNICE KRISTINA I"AUR,
                            PETRA JINETTE I,ABOY,
                            DAVID JOHN MOULDER,
                         ANTHOI\TY EUGENE MOULDER,
                           RHONDA JEAN MOULDER,
                           BARBARAANN MOULDER,
                         LUIS ORI,ANDO MENDIZABAL,
                            JEFFREY LEE SMOLIAK,
                           JOHN MICIIAEL BI,A],OCK,
                            LLON JOSEPH LOFTIS,
                           BRYANT JARODE CRITTEN,
                         NATESHA JAHMELIA MARSO N,
                        THOI\,IAS ATIIANASIOS KIRITSIS,
                          DANIEL MORRIS KLIBANOFF-
                                        11
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 12 of 31




                              BRIAN DOUGI"ASS COX,
                          JOHN THOI\,IAS IIARBERT III,
                          A]\{ONDO AI{TOINE MILLER,
                             KILEY I\{ARIE SAINDON,
                             also known as "Kiley Lucero,"
                                 HENRYARAGON,
                             LUCILLE J. PATTERSON,
                         also known as "Lucille Makatura,"
                            JA]\4ES ANTHOI{Y SIERRA,
                             TARA MCOLE CREASON,
                             WONNE PATTERSON,
                              CIIARITIE A. SEELYE,
                             BONME LEE COLBERT,
                           also knowa ss "flsnnis ft,61nkiq"
                          JENMFER LN{N GIRARDIN,
                  also knowl4s "Jsnnifer Key''and "Jennifer Roybal,"
                           JESSICA I\4ARIE PRINCE,
                           BRIAN JAI\4ES WILLIAMS,
                        JARED THOI\{AS MICHELIZZT,
                          TASHENA I"A\TERA CRUMP,
                         ERIC PATRICK McGARRITY,
                          ANDREW JOHN I,ANDSEM,
                       BALI,AM TIAZEAKIAH DUDLEY,
                       CAITLIN COLLEEN SCHLUSSER,
                     MONICA SABINA STIARJ\{A-IIANSSEN,
                          TIMOTITY PAUL IIANSSEN,
                             also known as "Scotty,"
                         CORLOS KENITRELL SMITH,
                           STACEY LEIGH PERSONS,
                       also known as "Stacey Granberry,"
                         PATRICIA NICHOLE SHINN,
                              also known as "Nikki,"
                                LEEANN GARCIA,
                            also known as,,Celi,,, and
                          ERIC STEPHEN ESHERICK

did knowingly conspire with each other, and others known and unknown to the grand

jury, to devise a scheme and artifice to defraud and to obtain money by materially

false and fraudulent pretenses, representations, and promises, in connection with the

conduct of telemarketing that victimized ten or more persons over the age of 55, and

for the puryose of executing such scheme and artifice, caused the sending, delivering,

                                          t2
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 13 of 31




and receipt of various matters and things by United States Postal Service and private

and commercial interstate carrier, in violation of   fitle   18, United States Code,

Sections 1341, 1349, and2326.

                   Overview and Purpose of the Conspiracy

      5.     The purpose of the conspiracy was to car:y out a telemarketing fraud

scheme involving magazine subscription sales. The conspiracy involved a nationwide

network of telemarketing companies involved in fraudulent magazine sales. These

companies used sales scripts    to defraud victim-consumers, many of whom        were

elderly and otherwise vulnerable, across the United States. The fraudulent sales

scripts were designed to induce consumers, through            a   series   of lies and
misrepresentations,   into unwittingly signing up for          expensive magazine

subscriptions.

                          Defendants and Their Roles

      6.     The defendants and other members of the conspiracy worked together

to carry out the fraudulent magazine sales scheme. The defendants held a number of

different roles in the conspiracy and   it was not uncommon for a member of the
conspiracy to hold more than one role. The roles in the conspiracy included:

             a.    Scheme Leaders: Defendants RUSSELL RAHM and DAVID

MOULDER owned companies that provided an array of senrices to companies

involved in fraudulent magazine sales. Among other things, defendants RAHM and

DAVID MOULDER provided customer relationship management ('CRM') software

programs that tracked orders, sales, and other customer information for companies

involved in the fraudulent magazine sales scheme. Defendants RAHM and DAVID

                                         13
I

I
           CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 14 of 31
I



I

I




    MOULDER provided lead lists of consumers who had ongoing and active magazine

    subscriptions   to   companies involved   in fraudulent magazine sales. Defendants
    RAHM and DAVID MOULDER, through their companies, loaded sales leads onto

    automated voice dialers that were used by the telemarketing call centers to call

    victim-consumers across the country. Defendants RAHM and DAVID MOULDER

    knew that the companies using the leads would attempt to defraud consumers on the

    lead lists by contacting them and pretending to be salling from the victim-consumers'

    existing magazine company about an existing subscription. Defendants RAHM and

    DAVID MOULDER and their companies sent out confirmation letters, invoices, bills,

    and collections letters to victim-consumers who had been defrauded by fraudulent

    magazine sales companies.

                 b.       Company Owners: Defendants AI{THOI{Y MOULDER, JOHN

    BLALOCK AI{ONDO MILLER, IIENRY ARAGON, LUCILLE PATTERSON,

    WONNE PATTERSON, JENNIFER GIRARDIN, BRIAN WILLIAMS, JARED
    MICHELTZZI, MOMCA SIIARI\,IA-IIANSSEN, TIMOTITY HANSSEN, STACEY

    PERSONS, ERIC ESIIERICK and others (the "Company Owners") owned companies

    involved in fraudulent magazine sales. The Company Owners operated telemarketing

    call centers at which telemarketers used fraudulent sales scripts to trick victim-

    consumers into unwittingly signing up for expensive magazine subscriptions.

                 c.       Call Center Managers: Defendants TERRY CHRISTENSEN,
    JANMCE I,AUR, PETRA I,ABOY, RHONDA MOULDER, LLOD                            LOF"TIS,

    BRYANT CRITTEN, NATESIIA I\,IARSON, THOI\{AS KIRITSIS, KILEY SAINDON,

    JAI\{ES SIERRA, TARA NICOLE CREASON, CIIARITIE SEELW, JESSICA
                                               t4
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 15 of 31




PRINCE, and TASHENA CRUMP (the "Call Center Managers") managed call centers

involved   in fraudulent magazine sales. The Call Center Managers trained
telemarketers to use the fraudulent sales scripts to defraud victim-consumers and

supervised the call centers on a day-to-day basis. Many CalI Center Managers also

conducted fraudulent magazine sales.

             d.    Telemarketers: Defendants BARBARA MOULDER, LUIS
MENDIZABAL, JEFFREY SMOLIAK, BONME COLBERT, ERIC MCGARRITY,

ANDREW LANDSEM, BALI,AI\{ DUDLEY, CORLOS SMITH, PATRICIA SHINN,

and LEEANN GARCIA (the "Telemarketers") were telemarketers at the call centers.

The Telemarketers called victim-consumers around the United States using
fraudulent sales scripts and, through a series of knowing and deliberate lies and

misstatements, tricked the victim-consumers       into unwittingly signing up for
expensive new magazine subscriptions.

             e.    Lead Brokers: Defendants DANIEL KLIBANOFF, BRIAN
COX, JOHN IIARBERT      III,   and AI{ONDO MILLER (the "Lead Brokers") were lead

brokers in the business of buying and selling lead lists to fraudulent magazine sales

companies. The Lead Brokers provided lead lists of consumers who had active and

ongoing magazine subscriptions through other companies. The Lead Brokers

provided these lead lists to the Company Owners knowing that they would use them

to carry out the fraud scheme.




                                          15
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 16 of 31




                       Manner and Means of the Conspiracy

      7.      The Company Owners operated telemarketing call centers throughout

the United States, including in Minnesota, Florida, Kansas, Missouri, Illinois,
Arizona, Arkansas, Texas, and Colorado.

      8.      As part of the scheme, Company Owners purchased lead lists from the

Lead Brokers. The lead lists contained consumers who had active and ongoing

magazine subscriptions through other companies. These lists were referred to as

"paid-during-service" or "PDS" leads. Some of the PDS lead lists identified the

magazines to which the individuals were currently subscribed and the credit card

number     or other payment information used to pay for the              subscription.

Telemarketers used the information on the PDS lead lists to fraudulently pose as the

victim-consumers'existing magazine provider, salling about an existing subscription,

rather than attempting to sign consumers up for an entirely new magazine
subscription.

      g.        The Lead Brokers specifically marketed PDS lead lists to companies

involved in the fraudulent magazine sales scheme. The Lead Brokers knew that many

of the consumers on this list were elderly and susceptible to fraudulent and deceptive

sales tactics. They also knew that PDS lists were particularly valuable to companies

engaged    in fraudulent magazine sales because the companies    posed as the victim-

consumers' existing magazine company       to trick them into signing up for      new

subscriptions. AccordinglX, PDS lead lists commanded a significant premium and sold

for as much as $10 or $15 per name.



                                          16
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 17 of 31




      10.    The Company Owners provided PDS lead lists to the Call Center

Managers and Telemarketers.    At the direction of the Company Owners and Call
Center Managers, the Telemarketers called the names on the PDS lead lists using

fraudulent sales scripts. The scripts directed the Telemarketers to claim-falsely-

that they were calling from the victim-consumers' existing magazine subscription

company and about an existing magazine subscription. The Telemarketers    claimed-

again falsely-to be calling with an offer to renew the victim-consumey's existing

magazine subscription, ofben at a reduced cost.   In reality, the companies had no
existing relationship with most of the victim-consumers and the Telemarketers were

not calling about an existing magazine subscription. Instead they were calling to

defraud them by tricking them into unwittingly signing up for entirely new magazine

subscriptions. Some companies would also call lists of their own victim-consumers

and, using a similarly fraudulent script, trick them into signing up for additional

magazine subscriptions.

       11.    The Company Owners, Call Center Managers, Telemarketers, and Lead

Brokers all knew that many of the consumers on these lists were elderly and

susceptible to fraudulent and deceptive sales tactics. Nevertheless, the defendants

called people on these lists and tricked them into signing up for enpensive magazine

subscription p acka ges.

       12.    The Company Owners also bought and sold lists of their own victim-

consumers    to one another. As with the PDS lead lists purchased from the Lead

Brokers, the Company Owners directed the Telemarketers to use this information to

fraudulently pose as the victim-consumers' existing magazine company and falsely
                                         t7
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 18 of 31




claim to be calling with an offer to renew or reduce the price of an edsting magazine

subscription. As a result, many victim-consumers were victimized again and again by

multiple magazine companies. Some victim-consumers were fraudulently billed by

ten or more magazine companies at a time and received more than $1,000 in
magazine subscription charges in a month.

      13.    The Company Owners took steps to cover up their fraud. The Company

Owners and Call Center Managers directed the Telemarketers to record only a final

portion of the call, during which the Telemarketers "verified" that the victim-

consumers were purchasing a new magazine subscription package. The Company

Owners and Call Center Managers instructed the Telemarketers not to record the

earlier portion of the call, during which they falsely represented that they \rere

calling to lower the payments on an existing magazine subscription. The Company

Owners later used these deceptive recordings when victim-consumers attempted to

challenge the charges and reported the fraud to the Better Business Bureau ('BBB"),

state Attorney General offi.ces, and other regulatory agencies.

      L4. The Company Owners             often operated cell centers under multiple

company names to disguise the scope of their fraud scheme. The Company Owners

sought to spread out the number of consumer complaints among multiple companies

to reduce the likelihood that any single company would come under investigation by

the BBB or a state Attorney General's office.

      15.    Some Company Owners hid the identity and location of their companies

by registering the companies with multiple out-of-state secretary of state offices and

using virtual offices   in   d.ifferent states as the companies' mailing address. The
                                            18
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 19 of 31




Qsmpan/ Owners did this to confuse victim-consumers and make it dirnsul6 for them

to identifr the company that was fraudulently billing them.

       16.   During the course of their scheme, the co-conspirators defrauded more

than 150,000 victims across the United States. In all, they received more than $900

million from the victims of the scheme.

      All in violation of fitle   18, United States Code, Sections 1349 and2326.

                                       Counts 2-10
                                       (Mail Fraud)

       L7.   The allegations in paragraphs 1 through 16 of the Indictment are

incorporated herein.

       18.   From at least in or about 2000 through in or about 2020, in the State

and District of Minnesota, and elsewhere, the defendants,

                         ANTHONIY EUGENE MOULDER,
                            RHONDA JEAN MOULDER,
                            BARBARAANN MOULDER,
                              LLOD JOSEPH LOF"TIS,
                          JOHN THOI\4AS IIARBERT III,
                             BRIAN JAIVIES WILLIAMS,
                          JARED THOI\4AS MICHELTZZI,
                           ERIC PATRICK McGARRITY,
                            ANDREW JOHN I,ANIDSEM,
                         BALI,AI\{ TIAZEAICIAH DUDLEY,
                       MOM CA SABINA SHARI\{A.IIANS SEN,
                            TIMOTIIY PAUL IJANSSEN,
                               also known as "Scott5/,"
                         CORLOS KENTRELL SMITH, and
                            STACEY LEIGH PERSONS,
                         also known as "Stacey Granbefryt,"

and others known and unknown to the gand jury, and in connection with the conduct

of telemarketingthat victimized ten or more persons over the age of 55, did knowingly

devise and participate   in a scheme and artifice to defraud and to obtain money by
                                            19
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 20 of 31




means of materially false and fraudulent pretenses, representations, and promises,

and by concealment of material facts.

       19. On or about the dates listed below, in the State and District            of
Minnesota and elsewhere, the defendants, as set forth below, for the purpose of

executing the scheme described above, knowingly caused to be sent by the U.S. Postal

Service certain matters or things, including the following:




   2     WILLIAMS                     January     A letter sent from Readers Club
                                      4,20L6   Home Office in Minnesota to
                                               Victim Patrick R. in Virsinia
   3     SIIARI\,IA.IIANSSEN,         December A letter sent from Midwest
         IJANSSEN                     5,20L6   Publishers Inc. in Minnesota to
                                               Victim Wanda Z. in Pennsvlvania
   4     PERSONS                      February A letter sent from Amerimag
                                      5,20L9   Services in Minnesota to Victim
                                               I(athleen M. in Ohio
   5     SHARI\{A-IIANSSEN,           December A check sent from Victim Phyllis
         IIANSSEN,                    19,2019  S. in New York to Midwest
         SMITH                                    Publishers Home Office in
                                              Minnesota
   6     MICHELtrZZI,                May 28,  A check sent from Victim Phyllis
         McGARRITY,                  2019     S. in New York to Central
         DUDLEY                               Subscription Service in Minnesota
   7     IIARBERT,                   October  A package sent from IIARBERT in
         MTCHELTZZI                  3,20t9   New Mexico to West Side Readerz
                                              in Minnesota containinghard copy
                                              lead sheets
   8     A\ITHOI\TY MOULDER,         December A package sent from LOFTIS in
         RHONDA MOULDER,             11,2019  Florida to BARBARA MOULDER
         BARBARA MOULDER,                     in Minnesef4 senfaining hard copy
         LOF"TIS                              lead lists
   9     MICHELIZZI,                 December A letter sent from Central
         I"ANDSEM                    27, 2019 Subscription Service in Minnesota
                                              to the undercover Postal
                                                 Inspection Seryice      emolovee



                                         20
         CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 21 of 31




                                                              posing as 'Virginia Cova" in
                                                              Michiean
   10         S C IIARI\,IA. TIANS   SE   N,    February      A check for $59.90 made out to
              TIANSSEN                          t2,2020       Midwest Publishers sent from
                                                              Victim Barbara W. in New Jersey
                                                              to   Midwest Publishers   Home
                                                              Office in Minnesota

        All in violation of fitle     18, United States Code, Sections 1341 and 2326.

                                               Counts 11-53
                                               (Wire Fraud)

        20.      The allegations in paragraphs 1 through 19 of the Indictment are

incorporated herein.

        2t.      From at least in or about 2000 through in or about 2020, in the State

and District of Minnesota, and elsewhere, the defendants,

                                  RUSSELL JASON RAHM,
                                  also known as "Rusty Rahm,"
                               TERRY LYI{N CHRISTENSEN,
                                 JANMCE KRISTINA I,AIIR,
                                  PETRA JINETTE I,ABOY,
                                  DAVID JOHN MOULDER,
                              ANTHOI{Y EUGENE MOULDER,
                                 RHONDA JEAN MOULDER,
                                 BARBARAANN MOULDER,
                              LUIS ORI,ANDO MENDIT.ABAL,
                                  JEFFREY LEE SMOLIAK
                                JOHN MICTIAEL BLALOCK,
                                  LLON JOSEPH LOFTIS,
                              NATESHA JAHMELIA I\{ARSON,
                             THOIVIAS ATIIANASIOS KIRITSIS,
                               DANIEL MORRIS KLIBANOFF
                                  BRIAN DOUGI,ASS COX,
                               JOHN THOI\,IAS TIARBERT III,
                               AMONDO ANTOINE MILLER,
                                  KILEY I\4ARIE SAINDON,
                                  also known as "Kiley Lucero,"
                                      HENRY ARAGON,
                                  LUCILLE J. PATTERSON,
                              also known as "Lucille Makatura."

                                                    2t
       CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 22 of 31




                             JAndES ANTHOI\ry SIERRA,
                               WONNE PATTERSON,
                               CHARITIE A. SEELE,
                              BONME LEE COLBERT,
                             also known as "Bonnie Rankin,"
                            JENMFER LYI{N GIRARDIN,
                  also known as "Jennifer Key''and "Jennifer Roybal,"
                             JESSICA I\{ARIE PRINCE,
                            BRIAN JAI\{ES WILLIAMS,
                         JARED THO1VIAS MICHELIZZI,
                           TASHENA I"A\TERA CRUMP,
                          ERIC PATRICK McGARRITY,
                           ANDREW JOHN I,AI{DSEM,
                        BALI,AT\{ HAZEAIil.AH DUDLEY,
                       CAITLIN COLLEEN SCHLUSSER,
                     MO M CA SABINA SHARIVIA-IIANS SEN,
                           TIMOTTry PAUL IIANSSEN,
                               also known as "Scotfir,"
                          CORLOS KENTRELL SMITH,
                            STACEY LEIGH PERSONS,
                        also known as "Stacey Granberry,"
                          PATRICIA NICHOLE SHINN,
                                also known as "Nikki,"
                                  LEEANN GARCIA,
                              also known as "Cali," and
                          ERIC STEPITEN ESHERICK,

and others known and unknown to the grand jury, and in connection with the conduct

of telemarketing that victimized ten or more persons over the age of 55, did knowingly

devise and participate   in a scheme and artifice to defraud and to obtain money by
means of materially false and fraudulent pretenses, representations, and promises,

and by ssnsselment of material facts.

      22.    On or about the dates listed below, in the State and District of
Minnesota and elsewhere, the defendants, as set forth below, for the purpose of

executing the scheme described above, knowingly caused to be transmitted by means




                                         22
        CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 23 of 31




of a wire communication in interstate commerce, certain writings, signs, signals, and

sounds, includirg the following:




   11     MILLER,                   April   11,    An email containing a PDS test
          MICETELIZZI               20t6           frle from MILLER in Colorado to
                                                   MICHELIZZI n Minnesota
   L2     DAVID MOULDER,            May 13,        A wire communication from
          GIRARDIN,                  20L6          Readers Club of America in
          PRINCE                                   Missouri to PS Online in
                                                  Minnesota related to a magazine
                                                  sale to victim Jonathan P.
   13     DAVID MOULDER,            May 19,       A wire communication from
          GIRARDIN,                 2016           Readers Club    of America in
          PRINCE                                   Missouri    to PS Online in
                                                  Minnesota related to a magazine
                                                  sale to victim Phvllis S.
   L4     DAVID MOULDER,            June 19,      A wire communication from
          AI{THOI{Y MOULDER,        2016          Leisure Time Resources Inc. in
          RHONDA MOULDER,                          Florida to PS Online in
          MENDIZABAL,                             Minnesota related to a charge to
          BI,ALOCK,                               Victim Elizabeth H.
          LOFTIS
   15     MILLER,                   Jvne 27,      An email with the subject line
          II{ICHELIZZI              2016          "Hard copies" from MILLER in
                                                  Colorado to MICIJELIZZI in
                                                  Minnesota
   16    DAVID MOULDER,             August 8,     A wire communication        from
         AI{THONIY MOULDER,         2016          Leisure Time Resources Inc. in
         RHONDA MOULDER,                          Florida to PS Online in
         BI,A],OCK,                               Minnesota related to a magazine
         LOFTIS,                                  charge to Victim Phyllis S.
         KIRITSIS
   t7    WONNE PATTERSON,           March 3,      A phone call from an employee of
          SEELW,                    20L7          Angels LLC to Victim Sharon G.
         COLBERT                                  in Minnesota
   18    DAVID MOULDER,             March 7,      A wire communication from
         MILLER,                    2017          Magazine Solutions in Colorado
         SAINDON                                  to PS On]ine in Minnesota
                                                  related to a charge to Victim
                                                  Phvllis S.
     CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 24 of 31




19     DAVID MOULDER,          May 11,      A wire communication from GuU
       ANTHONTY MOULDER,       20L7         Coast Readers Inc. in Florida to
       RHONDA MOULDER,                      PS Online in Minnesota related
       LOFTIS                               to a charee to Victim Marina G.
20     ARAGON,                 July   3,    Aphone call from an employee of
       SIERRA                  20L7         Magazine Direct     to   Victim
                                            Sharon G. in Minnesota
2t     MILLER,                 July 21,     Aphone callfrom an employee of
       SAINDON                 2017         Magazine Solutions in Colorado
                                            to Victim Sharon G.           in
                                            Minnesota
22     DAVID MOULDER,          August 9,    A wire communication from
       ANTHONTY MOULDER,       2017         Leisure Time Resources Inc. in
       RHONDA MOULDER,                      Florida to PS Online in
       BI,ALOCK,                            Minnesota related to a charge to
       LOF"TIS,                             Victim Phyllis S.
       MENDIZABAL,
       KIRITSIS
23     MICHELTZZI,             September    A phone call from DUDLEY in
       DUDLEY                  t4,2017      Minnesota to Victim Jonathan
                                            P. in Oreson
24     ESHERICK                March 12,    A wire communication        from
                               2018         ESHERICK in Minnesota to an
                                            out-of-state server processing a
                                            $49.90 charge to the credit card
                                            of Victim Jonathan P.
25     DAVID MOULDER,          May    1,    A wire communication from
       AI{THOI{Y MOULDER,      2018         ARCO Media Inc. in Florida to
       RHONDA MOULDER,                      PS Online in Minnesota related
       LOF"TIS                              to a charge to Victim Traci F.
26     IIARBERT,               August 15,   An email with the subject line
       MILLER,                 2018         "Fbd: Part 4 of 5" from
       ESHERICK                             IIARBERT in New Mexico to
                                            ESHERICK in Minnesota
27     WONNE PATTERSON,        August 31,   Aphone call from an employee of
       SEELW,                  2018         Angels LLC to Victim Conner L.
       COLBERT                              in Minnesota
28     ARAGON,                 September    A wire transfer of approximately
       SIERRA                  20,2018      $11,935 from a merchant
                                            account held by Magazine Direct
                                            at Merrick Bank in New York to
                                            a business account held by
                                            Maeazine Direct at Wells Fareo


                                      24
     CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 25 of 31




                                             that passed through Wells Fargo
                                             servers located in Minnesota
29    DAVID MOULDER,           October 5,    A phone call from SMITH in
      SIIARI\{A-IIANSSEN,      2018          Minnesota to Victim Peter B. in
      IIANSSEN,                              Pennsylvania
      SMITH
30    RAHM,                    October 12,   A wire communication from
      CHRISTENSEN,             2018          Preferred Media Solutions in
      I,AUR,                                 Florida to PS Online in
      I,ABOY,                                Minnesota related to a charge to
      DAVID MOULDER                          Victim Melissa A.
31    RAHM,                    October 15,   A wire communication from
      CHRISTENSEN,             2018          Preferred Media Solutions in
      I,AUR,                                 Florida to PS Online in
       I..ABOY,                              Minnesota related to a charge to
       DAVID MOULDER                         Victim Paula C.
32     MILLER,                 Octobet 22,   Aphone call from an employee of
       LUCILLE PATTERSON       2018          Publishers Service, Inc. in
                                             Arizona to Victim Sharon G. in
                                             Minnesota
33     RAHM,                   November      A wire communication from
       CHRISTENSEN,            14,2018       Preferred Media Solutions in
       I,AUR,                                Florida to PS Online in
       I,ABOY,                               Minnesota related to a charge to
       DAVID MOULDER                         Victim Teresa S.
34     RAHM,                   December      A wire communication from
       CIIRISTENSEN,           26,2018       Preferred Med.ia Solutions in
       I,AUR,                                Florida to PS Online in
       I,ABOY,                               Minnesota related to a charge to
       DAVID MOULDER                         Victim Gloria O.
35     KLIBANOFF,              February      An email with the subject line
       PERSONS                 18,2019       "Multimedia Lists PDS Test
                                             File" from an smployee at
                                             Multimedia Lists Inc. in North
                                             Carolina to KLIBANOFF and
                                             PERSONS in Minnesota
36     KLIBANOFF,              February      An email with the subject line
       WILLIAMS,               18,2019       "Multimedia Lists PDS Test
       CRIJMP                                File" from an    employee at
                                             Multimedia Lists Inc. in North
                                             Carolina to KLIBANOFF and
                                             CRUMP in Minnesota
37     DAVID MOULDER,          ApnI24,       A wire communication from
       ANTHONTY MOULDER.       20t9          Leisure Time Resources Inc. in

                                   25
     CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 26 of 31




       RHONDA MOULDER,                      Florida to PS Online in
       BI,ALOCK,                            Minnesota related to a charge to
       LOFTIS,                              Victim Bonita C.
       I\4ARSON,
       KIRITSIS
38     RAHM,                   May 2,       An email with the subject line
       DAVID MOULDER           2019         "Invoice 5584 from PS Qnline"
                                            from a PS Online employee in
                                            Minnesota to Individuals JH
                                            and AJ, in I(ansas
39    DAVID MOULDER,           May 2,       An email with the subject line
      ANTHOI{Y MOULDER,        2019         "Invoice 5526 from PS Online"
       LOF"TIS,                             from a PS Online employee in
       BI,ALOCK                             Minnesota to LOFTIS in Florida
40     DAVID MOULDER,          May 2,       An email with the subject line
       WILLIAMS,               2019         "Invoice 5537 from PS Online"
       CRI,]MP                              from a PS Online in Minnesota
                                            to WILLIAMS and CRUMP that
                                            passed through Yahoo! email
                                            servers located outside the state
                                            of Minnesota
4l     MICHELIZZI,             July 9,      A phone call from McGARRITY
       McGARRITY,              2019         in Minnesota to Victim Phyllis S.
       DUDLEY                               in New York
42     cox,                    July 16,     An email with the subject line
       SIERRA                  20r9         "Files Available!!!" from COX in
       STIARI\,IA.TIANSSEN,                 Georgia to SIERRA and
       IIANSSEN                             IIANSSEN in Minnesota
43     cox,                    July   17,   An email with the subject line
       SHARI\{A.IIANSSEN,      20L9         "Premiums              handwrites
       TIANSSEN                             attached" from COX in Georgia
                                            to IIANSSEN in Minnesota
44     cox,                    July   18,   A wire communication from
       SIIARI\,IA.IIANSSEN,    2019         Midwest Publishers Home Office
       IIANSSEN,                            in Minnesota to an out-of-state
       SMITH                                server processing a       $44.90
                                            charge to the credit card of an
                                            undercover Postal Inspector
                                            posing as "Rose Cubur"
45     cox,                    July 23,     An email with the subject line
       SHARI\4A.TIANSSEN,      2019         "R€: Premium handwrites
       IIANSSEN                             attached' from IIANSSEN in
                                            Minnesota to          SIIARI\{A-
                                            IIANSSEN and COX that

                                   26
     CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 27 of 31



                                            passed through email servers
                                            located outside of Minnesota
46     RAHM,                   August 8,    An email with the subject line
       DAVID MOTTLDER          2019         "TCS additional collections"
                                            from an employee of
                                                      Ink Co. in Kansas
                                            Subscription
                                            to   DAVID MOULDER in
                                            Minnesota and RAHM
47    IIARBERT,                October 1,   An email with the subject line
      WILLIAMS,                2019         "Re: John Harbert !" from
      CRUMP                                 IIARBERT in New Mexico to
                                            CRUMP in Minnesota offering to
                                            sell handwritten lead lists
48    ANTHONIY MOULDER,        December     An email with the subject line
      LOFTIS,                  11,2019      "New leads" from LOFTIS in
      RHONDA MOULDER,                       Florida to BARBARA
      BARBARA MOULDER                       MOULDER in Minnesota
49    PERSONS,                 December     A wire communication from
       SHINN,                  20,20L9      Amerimag Services LLC in
       GARCIA                               Minnesota to an out-of-state
                                            server processing a $49.90
                                            charge to the credit card of an
                                            undercover FBI agent posing as
                                            "Chris Lee"
50     MICHELTZZI,             December     A wire communication from
       I,ANDSEM                27,2019      Central Subscription Services in
                                            Minnesota to an out-of-state
                                            server processing a $59.80
                                            charge to the credit card of an
                                            undercover Postal Inspection
                                            Service employee posing      as
                                            'Vireinia Cova"
51     RAHM,                   January 3,   A phone call from an employee of
       CHRISTENSEN,            2020         Preferred Media Solutions in
       I,AUR,                               Florida to an undercover posing
       I,ABOY                               as "Sarah Shadwick'
52     WILLIAMS,               February     A      phone call from
       SCHLUSSLER              t6,2020      SCHLUSSLER in California on
                                            behalf of Pacific Beach Readers
                                            Club to an undercover FBI agent
                                            posing as "Timothy Brady'' in
                                            Minnesota




                                   27
         CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 28 of 31




   53      SMOLIAK,                           February       A fax containing customer leads
           II/,IICIIELTZZI                    r7,2020        sent by SMOLIAK in Florida to
                                                             MI CIIELIZZI in Mi n n e sota

        All in violation of fitle   18, United States Code, Sections 1343 and.2326.

                              FORFEITURE ALLEGATIONS

        23.    Counts   1   through 53 of this Indictment are incorporated by reference for

the purpose of alleging forfeiture pursuant to           fitle 18, United   States Code, Section

981(a)(1)(C) in conjunction with      fitle   28, United States Code, Section 246t(c).

        24. If convicted of any of Counts 1 through                53 of this Indictment, the

defendant shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), any property,

real or personal, which constitutes or is derived from proceeds traceable to Counts            1


through 53 of the Indictment.

        25. If convicted of any of Counts 1 through                53 of this Indictment, the

defendants shall also forfeit to the United States, pursuant to        fitle   18, United States

Code, Section 982(a)(8), any real or personal property used or intended to be used to

commit, facilitate, or promote the commission of the mail and wire fraud schemes

alleged in Counts 1 through 53 of the Indictment.

        26.    The property subject to forfeiture includes, but is not limited to:

               a.   $100,452.50 seized from Regions         Ba'k, account No. 0263748037, in
                    the name of ARCO Media Inc.;

               b.   $105,943.21 seized from Regions BanL, account No. 0263748266, in
                    the name of ARCO Media Inc.;

               c.   $9,980.83 seized from Wells Fargo, account No. 3931950467, in the
                    name of Magazine Direct;


                                                 28
CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 29 of 31




    d. $38,676.99 seized from Merrick Bank, merchant account             No.
         7851000000001164, in the name ofAngels LLC;

    e. $89,353.88 seized from Merrick Ba.k, account No.
       7851000000001289, in the name of Central Subscription Service,
         Ltd.;

    f.   $40,313.40 seized from MidwestOne BanL, account No. 251835, in
         the name of West Side Readerz Inc.;

    g. $49,200.70 seized from TCF National Bank, account No.
         7868070788, in the name of Central Subscription Service Ltd.;

    h. 843,579.77 seized from TCF National Ba'k, account No.
         1852365176, in the name of Subscriber Service Center;

    i.   $30,722.30 seized from Associated Bank, account No. 2283264493, in
         the name of Midwest Publishers Home Office Inc. DBA           Bee
         Marketing;

    j.   $50,821.04 seized from Associated Bank, account No. 2283264485,in
         the name of Midwest Publishers Home Office Inc.;

    k.   $2,360.96 seized from US Bank, account No. 1047848t4923,    in the
         name of Brian J Williams DBA Tropical Readers;

    l.   $457.25 seized from Associated Bank, account No. 7645021071, in
         the name of Readers Club Home Office Inc.;

    m. $402.71 seized from US Bank, account No. 104780000097, in the
       name of Readers Club ofAmerica;

    n.   $280.80 seized from TCF National Bank, account No. 386992875L, in
         the name of Tropical Readers;

    o. Cashiet's check #    20064 76977 in the amount of $48,000 dated
         l2l28l1.8 and made payable to Monica S. Hanssen;

    p. Cashie/s check #    20064 78496 in the amount of $50,000 dated
         L2l3Llt8 and made payable to Monica S. Hanssen;

    q. Cashiet's check #   2006677886 in the amount of $100,000 dated
         02120120 and made payable to Monica S. Hanssen;




                                 29
CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 30 of 31




     r.   Cashier    s check #
                            2006677922 in the amount         of    S100,000 dated
          O2l2Ol20 and made payable to Monica Hanssen;

     s.   S280.80 seized from TCF National Bank account number
          3869928751, in the name of Tropical Readers;

     t.   fi402.7L seized from US Bank acct    #   104780000097,   in the name of
          Readers Club of America;

     u.   $1,100 in U.S. Currency seized from Monica Sharma-Hanssen on
          February 19,2020;

     v.   $10,976 in U.S. Currency seized on February 2L, 2020, from three
          safes at 10406 Shawnee Mission Parkway, Shawnee, Kansas, in the
          amounts of $10,355, 9111, and 9510, respectively;

    w. Brietling Watch, Super Avenger model 413370, serial number
          252453;

    x.    Miscellaneous jewelry seized from 46 Park Ave. N., Asheville, North
          Carolina on February t9,2O2O;

    y. $12,380 in U.S. Currency seized from a safe at 4G Park Ave. N.,
          Asheville, North Carolina on February t9,2020;

    z. The real property     located at 2 Maclynn Road, Excelsior, Minnesota;

    aa.The real property located        at 5416 51st Avenue N., Crystal,
          Minnesota;

    bb.The real property located at RRl Box 1L95 C, Thayer, Missouri;

    cc. The real property located    at 910 w. cape Estates Cir., cape coral,
          Florida;

    dd.The real property located at 916      w. cape Estates cir., cape Coral,
       Florida;

    ee. The    real property located at 1.022 SE 46th Street, lB, Cape Coral,
          Florida;

    ff. The real property located       at   17962 Judicial Road, Lakeville,
          Minnesota;



                                   30
         CASE 0:20-cr-00232-JRT-BRT Doc. 15 Filed 10/20/20 Page 31 of 31



              gg.The real property located        at   10406 Shawnee Mission Parkway,
                 Shawnee, Kansas;

              hh.The real property located at 258 Belle Vista Court, Lake Ozark,
                 Missouri; and

              ii. The real property   located     at   10505 S. Highland Lane, Olathe,
                 Kansas.

        27. If any of the above-described      property is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute property as provided for in

fitle   21, United States Code, Section 8530), as incorporated by       fitle   28, United

States Code, Section 2ail(c) and   fitle   18, United States Code, Section 982(b).


                                    A TRUE BILL




UNITED     STATESATTORNEY                         FOREPERSON




                                             31
